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                     IN THE UNITED STATES DISTRICT COURT FOR T
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                               EASTERN DISTRICT OF VIRGINIA
                                                                               ULtHK, U.S. DISTRICT COURT
                                                                                   ALEXANDRIA. VIRGINIA
                                        Alexandria Division


UNITED STATES OF AMERICA

                V.                                            CRIMINAL NO. 1:20-MJ-81


HE LI,
   a/k/a Qinbin Chen,

and
                                                              UNDER SEAL
SHOUMING SUN,

                 Defendants.



                         AFFIDAVIT IN SUPPORT OF A CRIMINAL
                          COMPLAINT AND ARREST WARRANTS


         I, Gregory R. Settducati, being duly sworn, hereby, depose and state as follows:

                                        INTRODUCTION


         1.     I am employed as a Special Agent of the Federal Bureau of Investigation(FBI)

and have been so employed since February 2012. Currently, I am assigned to the Organized

Crime Squad at the Washington Field Office, Northern Virginia Resident Agency, Manassas,

Virginia. My duties with the FBI include, but are not limited to, the investigation of alleged

violations of Federal criminal statutes which involve financial institutions, the investigation of

complex financial crimes, including extensive document review, analysis and witness interviews,

and the preparation, presentation and service of criminal complaints, arrest and search warrants.

         2.     The facts set forth in this affidavit are based upon my personal knowledge.
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